                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

                   CRIMINAL MINUTES - CHANGE OF PLEA
United States of America                            Case Number: 17-00330-01-CR-W-SRB
v.                                                  Date: 3/21/18
PRESTON L. GILLAM

Honorable Stephen R. Bough presiding at Kansas City, Missouri

Time commenced:      10:05 a.m.                            Time terminated:    10:20 a.m.

       Plaintiff                     Appearances           Defendant
       Jeff McCarther, AUSA                                Terry Flanagan

PROCEEDINGS:

Defendant appears to change his plea from not guilty to guilty on count(s) 1 of the indictment.
X     Interpreter sworn
X     Defendant sworn.
X     Court questions defendant regarding his physical and mental condition. Defendant
      advised of right to trial by jury, maximum and minimum terms of incarceration and fine
      ranges.
X     Plea agreement filed.
X     Plea is accepted by the Court.
X     Court orders Presentence Investigation (PSI).
X     Defendant remanded to custody.

REMARKS: Sentencing is set for July 26, 2018 at 9:30 a.m.



Court Reporter: Jean Crawford                 Tracy Diefenbach, Courtroom Deputy
